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2      CAVAN M. COX II
        Deputy County Counsel – State Bar No. 266793
3
       FRESNO COUNTY COUNSEL
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       Fresno, California 93721
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7
       Attorneys for Defendants,
8      Fresno County Sheriff’s Office,
9      Fresno County Sheriff Margaret Mims, and
       Fresno County Sheriff’s Captain Ryan Hushaw
10
11                              IN THE UNITED STATES DISTRICT COURT
12                                EASTERN DISTRICT OF CALIFORNIA
13
14
       MICHAEL GENE MCKINNEY,                          Case No. 1:22-cv-00475 KES-EPG
15
                                  Plaintiff,
16                                                     NOTICE OF DEFENDANTS’ MOTION
                           v.                          FOR SUMMARY JUDGMENT
17
18     FRESNO COUNTY SHERIFF’S OFFICE;
       and; FRESNO COUNTY SHERIFF                     Date: April 25, 2-25
19     MARGARET MIMS; and; FRESNO                     Time: 10:00a.m.
       COUNTY SHERIFF’S CAPTAIN RYAN                  Court: Room 10, 6th Floor
20     HUSHAW,
                                                       Judge: Hon. Kirk E. Sheriff
21                                Defendants.
                                                       (Magistrate Judge: Hon. Erica P. Grosjean)
22
23
24
            PLEASE TAKE NOTICE that Defendants Fresno County Sheriff’s Office, Margaret
25
       Mims, and Ryan Hushaw hereby move for summary judgment on Plaintiff’s claims.
26
            Opposition to the granting of this motion should be served and filed by the responding
27
       party not more than thirty (30) days after the date of service of the motion. Failure of the
28
       responding party to file an opposition or a statement of no opposition may be deemed a waiver of

                                                        1
       NOTICE OF MOTION FOR SUMMARY JUDGMENT Case No. 1:22-cv-00475 KES-EPG
     Case 1:22-cv-00475-KES-EPG           Document 55       Filed 01/29/25      Page 2 of 3


1      any opposition to the granting of the motion and may result in the imposition of sanctions. This

2      motion is based upon this Notice, the accompanying Rand Notice, the supporting Memorandum

3      of Points and Authorities and Statement of Undisputed Facts, the declaration of Lt. James Dunn,

4      and Defendants’ requests for judicial notice (served concurrently herewith) of California Senate

5      Bill 2 from the 2023-2024 legislative session, Fresno County Sheriff’s Office Policy No. 207,

6      and former California Penal Code section 26150, effective January 1, 2016 to December 31,

7      2023, all papers and pleadings in this matter, and such argument and additional evidence as may

8      be presented at the hearing, should the Court determine a hearing is necessary.

9
10     Dated: January 29, 2025                      Respectfully submitted,

11
                                                    DANIEL C. CEDERBORG
12                                                  County Counsel
13
14                                                  /s/ Cavan M. Cox II
                                            By:     ____________________________
15                                                  Cavan M. Cox II. Deputy County Counsel
                                                    Attorneys for Defendants,
16
                                                    Fresno County Sheriff’s Office
17                                                  Fresno County Sheriff Margaret Mims
                                                    Fresno County Sheriff’s Captain Ryan Hushaw
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       NOTICE OF MOTION FOR SUMMARY JUDGMENT Case No. 1:22-cv-00475 KES-EPG
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1                           PROOF OF SERVICE BY UNITED STATES MAIL

2             I, Vincent Soliz, declare as follows:
               I am a resident of the State of California, over the age of eighteen years, and not a party
3      to the within action. I am employed at the Fresno County Counsel’s Office, 2220 Tulare Street,
4      Fifth Floor, Fresno, California, 93721.

5             On January 29, 2025, I served a copy of the within:
6
                NOTICE OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
7
       on the interested parties in said action addressed as follows:
8
       Michael Gene McKinney
9
       4397 N. Valentine Avenue
10     Fresno, CA 93722
       Pro Per Plaintiff
11
       X      by placing the document(s) listed above for mailing in the United States mail at Fresno,
12
              California, in accordance with my employer's ordinary practice for collection and
13            processing of mail and addressed as set forth above.

14            I declare under penalty of perjury under the laws of the State of California that the
15     foregoing is true and correct. Executed on January 29, 2025, at Fresno, California.

16
17
18                                                    Vincent Soliz
19                                                    Litigation Paralegal

20
21
22
23
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                                              Certificate Of Service
                                        Case No. 1:22-cv-00475 KES-EPG
